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WUnited States Court of Appeals for the Tenth Circuit wut
PH 2: 31

Address: 1823 Stout Street, Denver, CO 80257

Appellant: David William Dacres Shaver

Vs. Appellee(s): Whittier HOA [Whittier Place
Condominiums Homeowners Association, Incorporated]+ | A COURT USE ONLY

‘Pro Se’Party/Not member of Colorado Bar: Case Number:
David William Dacres Shaver
1750 30th St Suite A338, Boulder CO 80301 23-1197

Phone: 303-351-4239 eMail:davidshaver@yahoo.com
PETITION FOR WRIT OF MANDAMUS

WHEREAS, David William Dacres Shaver, Petitioner/Appellant, hereby Petitions

this Court for a Writ of Mandamus; and in support thereof states as follows:

I. INTRODUCTION

This petition arises from an extraordinary and irregular sequence of events

wherein Petitioner, who is the Appellant in an ongoing case in the ‘United States
District Court for the District of Colorado’, was summoned for jury duty in the
very court from whom the appeal has arisen.

Il. FACTUAL BACKGROUND
A) Appeal and Recusal Request: Petitioner filed this appeal from the ‘United

States District Court for the District of Colorado’, wherein he cited errors in that
court’s handling of case filings, specifically incorrect docketing and/or dating of
such filings, [ADoc 24(7)(a) “Response to Judicial Order’ of 3/31], recommending
the recusal of that court’s Judge there [ADoc 24(7)(b)], & in the ‘Brief’ here also.
B) Jury Summons: Despite the ongoing Appeal and the request for recusal,
Petitioner received a summons to serve as a juror in the very court that is a sub-
ject of the appeal and its recusal request for the Judge therein.

The lower court’s jury service claims that Petitioner was ‘drawn by random

selection’, however, given the circumstances, such a claim seems statistically

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~absurd. Petitioner has only been summoned to jury duty once before in his life-
time, understandably in the ‘Jefferson County’ jurisdiction where he grew up.
C) Communication with Courts and Jury Clerk: Petitioner supplied the jury
service with information regarding the ongoing appeal+, later contacting both
Courts, +emails w/‘Jury Clerk’ Ana Gauthier, who responded with the statistically
~false claim that the summons had “zero correlation” to his cases, and further
claimed “I do not have authority to excuse jurors based on personal conflicts
related to judges or case matter”, and further did not respond to recommendations
for evaluations by entities with significant skills in statistics and applicable law.
II. LEGAL ARGUMENT & BASIS FOR MANDAMUS

A) Sixth Amendment: Guarantees guarantees the right to an impartial jury. In the

present circumstances, it is not feasible for Petitioner, being effectively embroiled
in legal proceedings against that lower court itself, to serve impartially therein.
B) An Appearance of Impropriety: is created by the Summons, possibly inter-
pretable as intimidation, even ~harassment, undermining judicial credibility.

C) Participation in said Jury Duty: could hinder Appellant’s participation here.
D) This Court has Jurisdiction: under the All Writs Act, 28 U.S.C. § 1651, and
Federal Rule of Appellate Procedure 21, and venue is proper.

WHEREFORE, Petitioner respectfully requests that this Court should, God willing:
1. Issue a Writ of Mandamus directing the ‘United States District Court for the
District of Colorado’ and/or Jury Service to halt the ‘Jury Summons’ to Petitioner.
2. Order appropriate preventive measures to ensure such irregularities don’t recur.
3. Grant any other relief this Court deems just and/or appropriate and/or necessary.

Oo) Meee

‘Petitioner’ Signature: ld Mesuveris/David W Shaver(PRO SE) Date: oe ty / eS

Address: _ 1750 30th St Suite A338, Boulder CO 80301 Phone: 303-351-4239

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@)_ United States Court of Appeals For the Tenth Circuit

Denver County, Colorado
Court Address:

1823 Stout Street, Denver CO 80257

In Re: . sate

Petitioner: David William Dacres Shaver

vs,
Whittier HOA [Whittier Place

Association, Incorporated]+ A COURTUSEONLY A
Attorney or Party Without Attorney (Name and Address). Case Number:
David William Dacres Shaver 231197
1750 30th St Suite A338, Boulder CO 80301
Phone Number:303-351-4239 E-mail:davidwshaver@yahoo.com
FAX Number: Atty. Reg.#: PROSE Division Courtroom
CERTIFICATE OF SERVICE
| certify that:
1. The origina /of the Petition for Writ of Mandamus of 08.14.2023

(name of document)

was @ mailed OR Q delivered to the Clerk of the Court; and
+ provided to the Clerk via eMail

2. A true and accurate copy of the same document was 0) hand delivered OR O) faxed to this
number OR 4 placed in the United States mail, postage prepaid,

and addressed to the following parties on this date: __ 08.14.2023

AND _X_ eMailed to the following parties:

TO: _ sleff@wipplaw.com : Suzanne M. Leff
christine @boulderhoa.com: at location of registered

i i Suzanne M, Leff
agent, at time of the fire. 8020 Shaffer Parkway, Suite 300

Littleton, CO 80127

David William Dacres Shaver (PRO SE) / Appellant
44 Petitioner OR O) Respondent/Co-Petitioner

1750 30th St Sulte A338
Address

Boulder, CO 80301
City, State, Zip Code

303-351-4239
(Area Code) Telephone Number (home and work)

JDF 1313. R7/00 CERTIFICATE OF SERVICE PAGE 1 OF 4

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